






Opinion issued July 25, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00457-CV

____________


FERGUS M. GINTHER,  Appellant


V.


NOBLE C. GINTHER, SR. &amp; MINNIE L. GINTHER,  Appellees






On Appeal from the Probate Court No. 3

Harris County, Texas

Trial Court Cause No. 322,916






O P I N I O N

	The parties have filed a joint motion to dismiss this appeal.  No opinion has
issued. Accordingly, motion is granted, and the appeal is dismissed with prejudice. 
Tex. R. App. P. 42.1(a).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Jennings, and Keyes.

Do not publish. Tex. R. App. P. 47.


